4:08-cr-03148-RGK-CRZ     Doc # 513     Filed: 10/02/14   Page 1 of 1 - Page ID # 1611




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                  Plaintiffs,                               4:08CR3148
     vs.
                                                          RELEASE ORDER
LARRY J. LAUTENSCHLAGER,
                  Defendants.

      IT IS ORDERED:

      1)     The defendant shall comply with all terms and conditions of supervised
      release which were imposed at sentencing except as follows:

            The defendant shall be released to reside at the Sienna Francis House
            in Omaha, Nebraska and participate in that facility’s substance abuse
            treatment program. The defendant shall fully comply with the
            requirements of defendant’s treatment plan and all rules of the
            Sienna Francis facility. If the defendant is discharged from the
            facility for any reason whatsoever, or leaves the premises of the
            facility without authorization, the United States Marshal, and/or any
            law enforcement officer is ordered to take the defendant into custody
            and detain the defendant pending a prompt hearing before the court.

      2)    A revocation hearing on the pending Petition For Offender Under
            Supervision will be held before the Honorable Richard G. Kopf, Senior
            United States District Judge, in Courtroom 2, United States Courthouse,
            Lincoln, Nebraska, at 12:30 p.m. on December 18, 2014.

      3)    The defendant, defense counsel, and counsel for the government shall
            attend the hearing.

            October 2, 2014.
                                              BY THE COURT:
                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
